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PACHULSKI STANG ZIEHL & JONES LLP
James I. Stang, Esq. (admitted pro hac vice)
Iain A. W. Nasatir, Esq.
Karen B. Dine, Esq.
Brittany M. Michael, Esq.
780 Third Avenue, 36th Floor
New York, New York 10017
Telephone:     (212) 561-7700
Facsimile:     (212) 561-7777
Email:         jstang@pszjlaw.com
               inasatir@pszjlaw.com
               kdine@pszjlaw.com
               bmichael@pszjlaw.com
and

BURNS BAIR LLP
Timothy W. Burns, Esq. (admitted pro hac vice)
Jesse J. Bair, Esq. (admitted pro hac vice)
10 E. Doty St., Suite 600
Madison, WI 53703-3392
Telephone: (608) 286-2808
Email: tburns@burnsbair.com
Email: jbair@burnsbair.com
Counsel and Special Insurance Counsel for the Official Committee
of Unsecured Creditors of The Roman Catholic Diocese
of Rockville Centre, New York

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:
                                                                         Chapter 11
    THE ROMAN CATHOLIC DIOCESE OF
    ROCKVILLE CENTRE, NEW YORK,1                                         Case No. 20-12345 (MG)

                                     Debtor.


        THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’ REPLY IN
         SUPPORT OF MOTION FOR ENTRY OF AN ORDER PURSUANT TO
     BANKRUPTCY RULE 2004 AUTHORIZING EXAMINATION OF WITNESSES AND
                      THE PRODUCTION OF DOCUMENTS

1
  The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last four
digits of its federal tax identification number are 7437, and its mailing address is P.O. Box 9023, Rockville Centre,
NY 11571-9023.


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         The Official Committee of Unsecured Creditors (the “Committee”) of The Roman Catholic

Diocese of Rockville Centre, New York (the “Diocese” or the “Debtor”) in the above-captioned

case under chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”), by and

through its undersigned counsel, hereby replies (the “Reply”) in support of its Motion for entry of

an order pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure (the “Motion”)

authorizing the issuance of a document and examination subpoena to Arrowood Indemnity

Company (“Arrowood”). In support of this Reply, the Committee respectfully represents as

follows:

                                       PRELIMINARY STATEMENT

                  1.        Through its Motion, the Committee seeks to investigate the ability of

Arrowood to satisfy its obligations to the Diocese under the Arrowood Policies. Bankruptcy Rule

2004 was created for this very purpose, i.e., to evaluate the assets of the Diocese (including its

insurance policies) in connection with the Debtor’s reorganization efforts.

                  2.        In response, Arrowood objected to each and every one of the Committee’s

requests.2 In an effort to resolve the parties’ dispute and to avoid the cost and expense of full

motion practice, the Committee contacted Arrowood on August 24 to inquire if Arrowood would

be willing to agree to any compromise (for instance, agreeing to produce certain documents that

Arrowood finds acceptable in exchange for the Committee withdrawing certain other requests).3




2
  The Debtor, for its part, did not object to the Committee’s Motion, but did request that the Debtor receive any of the
discovery that Arrowood produces. The Committee agreed to this request and incorporated that suggestion into its
revised proposed Order granting the Motion.
3
  See Declaration of Jesse J. Bair in Support of the Official Committee of Unsecured Creditors’ Reply in Support of
Motion for Entry of an Order Pursuant to Bankruptcy Rule 2004 Authorizing Examination of Witnesses and the
Production of Documents, ¶ 5, Ex. 1 (“Bair Decl.).



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Arrowood responded that there is nothing to discuss because the Committee is not entitled to any

of the information it requested.4

                 3.         In support of its blanket objection to each of the Committee’s requests,

Arrowood primarily points to the existence of the insurance adversary proceeding. Importantly,

however, there are several reasons why the “pending proceeding rule” does not apply here.

                 4.         First, as Arrowood concedes, the Committee has no present right to take

discovery in the Arrowood District Court Action.5 Arrowood should not be allowed to point to the

existence of a collateral proceeding that affords the Committee no right to take discovery as a basis

for immunizing Arrowood from disclosure under Rule 2004. Indeed, on June 13, 2023, the

Committee met and conferred with the Diocese and Arrowood to see if those parties would agree

to expand the Committee’s discovery rights in the adversary proceeding to, at a minimum, allow

the Committee to attend case depositions.6 Both parties refused.7

                 5.         Given its opposition to this limited expansion of Committee intervention

rights in the adversary proceeding, Arrowood would undoubtedly oppose any effort by the

Committee to expand its rights to serve affirmative discovery. In light of the Committee’s inability

to take discovery in the insurance action, Arrowood’s reliance on the pending proceeding rule is

inequitable and the cases it relies on are distinguishable.

                 6.         Second, even if the Committee could take discovery in the insurance

adversary proceeding (which it presently cannot) many of the Committee’s requests differ from

the narrow scope of issues that will be litigated in the insurance adversary proceeding and instead

are directed at issues material to the bankruptcy case. The Committee seeks, in large part,


4
  Id.
5
  See Stipulation Reinstating the Committee as a Party, Case No.20-cv-11011, Dkt. No.63 (June 21, 2021).
6
  See Bair Decl., ¶ 4.
7
  Id.

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information related to Arrowood’s financial ability to pay claims—not whether there is coverage

for those claims under the Policies. Arrowood’s financial wherewithal is an issue that is plainly

relevant in the bankruptcy case but is not in dispute in the adversary proceeding.

                 7.         Third, even if there is some overlap between the Committee’s requests and

the issues that may be litigated in the insurance adversary proceeding, the Committee is still

entitled to those materials because they are relevant to the bankruptcy case and the Committee has

no other way to obtain those materials at present.

                 8.         Finally, Arrowood’s refusal to comply with the Committee’s requests may

frustrate the parties’ efforts to formulate a consensual Plan. Although, of course, the key to any

consensual Plan remains the adequacy of the Diocese and Parish financial contributions, if that

issue is resolved by October 31, the Committee needs to be able to fully understand Arrowood’s

ability to pay, especially if the Diocese’s rights under the Arrowood Policies are to be assigned to

a settlement trust following Plan confirmation or if the Diocese attempts to monetize the asset.

                                              ARGUMENT

  I.    The Committee Seeks Information That is Subject to Disclosure Under Rule 2004

        A. The Committee’s Rule 2004 Requests Satisfy the Good Cause Standard

                 9.         As the Committee described in its Motion, Arrowood has substantial

potential exposure for the Sexual Abuse Claims. Approximately 358 of those claims allege abuse,

at least in part, during the Arrowood coverage period. Arrowood’s financial ability to satisfy its

policy obligations to the Diocese is thus an important piece of the Committee’s evaluation of the

Debtor’s financial condition.




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                 10.        The Arrowood Policies and the proceeds of those policies are assets of the

Diocese.8 The Committee’s requests seek information, among other things, regarding the value of

those assets (e.g., does Arrowood have the ability to pay claims under its policies).

                 11.        Information regarding the value of assets available to satisfy a debtor’s

liabilities is key to developing a plan of reorganization and is subject to disclosure under Rule

2004. See, e.g., In re Millennium Lab Holdings II, LLC, 562 B.R. 614, 626 (Bankr. D. Del. 2016)

(explaining that “[t]he purpose of a Rule 2004 examination is to ‘discover the nature and extent of

the bankruptcy estate’ in order to distribute [a] debtor’s assets for the benefit of its creditors.”)

(internal citations omitted); In re Lufkin, 255 B.R. 204, 208 (Bankr. E.D. Tenn. 2000) (Rule 2004’s

purpose is to “determine the condition, extent, and location of the debtor’s estate in order to

maximize distribution to unsecured creditors”). Accordingly, the Committee has established good

cause for the Court to grant permission to pursue Rule 2004 discovery against Arrowood.


    II.   The “Pending Proceeding” Rule Does Not Apply
                 12.        “The mere fact that there is pending litigation against a person sought to be

examined under Rule 2004 and possible use of such testimony in collateral litigation is not a

sufficient reason for denying the examination.” In re Coffee Cupboard, Inc., 128 B.R. 509, 516

(Bankr. E.D.N.Y. 1991). There are several reasons why the “pending proceeding rule” does not

apply here.




8
 See, e.g., Memorandum Opinion and Order Denying the Debtor’s Motion for a Preliminary Injunction [Adv. Pro.
20-01226 Docket No. 202] at 30; MacArthur Co. v. Johns-Manville Corp. (In re Johns-Manville Corp.), 837 F.2d 89,
92 (2d Cir. 1998); A.H. Robins Co. v. Piccinin, 788 F.2d 994, 1001 (4th Cir. 1986); In re Circle K Corp., 121 B.R.
257, 261 (Bankr. D. Ariz. 1990); Minoco Grp. of Cos., Ltd. v. First State Underwriters Agency of New Eng. Reins.
Corp. (In re Minoco Grp. of Cos., Ltd.), 799 F. 2d 517, 519 (9th Cir. 1986).


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         A. The Committee cannot presently seek discovery in the insurance adversary
            proceeding

                  13.       As described in Arrowood’s Objection, the Committee has no present right

to seek (or even receive copies of) discovery in the insurance adversary proceeding. See Objection

at 8-9. Given that the Committee has no current ability to seek discovery in the adversary case, the

purpose of the pending proceeding rule (e.g., prohibiting parties from evading the more limited

scope of discovery under the Federal Rules of Civil Procedure) would not be served here.

                  14.       Indeed, the United States Bankruptcy Court for the District of Arizona

reached the same conclusion in a similarly unique fact pattern where no discovery was available

in the other pending proceedings. See In re Int'l Fibercom, Inc., 283 B.R. 290, 293 (Bankr. D. Ariz.

2002). There, the Court distinguished the authorities relied on by the objecting party due to the

absence of available discovery in that case and explained that the purpose of the pending litigation

rule would not be served by barring Rule 2004 discovery under those particular facts:

         Here, discovery is not presently available in any of the other pending litigation, due
         to the automatic stay arising from PF.Net’s bankruptcy case. With one exception,
         it appears that discovery was in fact presently available in the other pending
         litigation in all of the authorities relied on by AT & T. Consequently those
         authorities have limited, if any, significance for the situation where such
         alternative discovery methods are stayed, as here. On these facts, such strict
         application of the “pending litigation” analysis would be adverse to the
         purpose underlying the Bankruptcy Rule 2004.

Id. (emphasis added).9

                  15.       The same holds true here. Because the Committee has no current ability to

seek discovery from Arrowood in the insurance adversary proceeding, the existence of that


9
  The one exception is In re Enron Corp., 281 B.R. 836 (Bankr. S.D.N.Y. 2002), where discovery in the collateral
proceeding was temporarily stayed under the PSLRA pending the resolution of a motion to dismiss. As the Fibercom
court explained, however, the Enron court denied the 2004 order “not because of the other pending litigation, but
because the proponents of the discovery ‘ha[d] not satisfied th[e] threshold inquiry’ that the discovery is proper under
Rule 2004.” 283 B.R. at 293 (internal citations omitted).



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proceeding should not bar the Committee from seeking Rule 2004 discovery in the bankruptcy

case.

         B. The Committee’s requests are directed at the bankruptcy case

                  16.       The Committee’s discovery requests differ from the narrower scope of

issues involved in the adversary proceeding. Instead, the requests are broader, and directed at

issues material to the bankruptcy case. See Fibercom, 283 B.R. at 292 (noting that “when the Rule

2004 examination relates not to the pending adversary litigation, but to another matter, the

‘pending proceeding’ rule does not apply”).

                  17.       While the insurance adversary proceeding focuses on whether Arrowood

has coverage obligations to the Diocese for the Sexual Abuse Claims, the Committee’s requests

are largely focused on Arrowood’s financial ability to pay those claims, with a particular focus on

Arrowood’s reserves,10 risk exposures,11 settlements of any other CVA claims,12 and particular

aspects of Arrowood’s annual financial statement.13

                  18.       None of those topics are directly at issue in the insurance adversary

proceeding, but they all are plainly relevant to the bankruptcy case.

                  19.       For this reason, Arrowood’s argument that the Committee’s requests are

“not ripe” (see Objection at 16-20) misses the mark and ignores the purpose of Rule 2004 and the

Committee’s obligation to investigate the assets of the Debtor. Whether or not Arrowood’s

obligation to indemnify any particular claim has been finally adjudicated, the Committee has a

duty to investigate now whether Arrowood has the financial ability, or not, to pay under its policies

or contribute meaningfully to a plan of reorganization.


10
   See Requests to Produce Nos. 3, 14, and 15; Interrogatories Nos. 1, 2, 3 and 4.
11
   See Requests to Produce No. 9 and Interrogatory No. 5.
12
   See Requests to Produce Nos. 12 and 16; Interrogatories Nos. 6 and 7.
13
   See Requests to Produce Nos. 19 and 20; Interrogatories Nos. 10 and 11.

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                  20.       For similar reasons, Arrowood’s observation that an injured party generally

cannot sue an insurance company directly until after that party has obtained an unpaid judgment

against the policyholder (see Objection at 20-21) does not in any way restrict a Committee’s ability

to seek information under Rule 2004.14

         C. Even if there is some overlap with the adversary proceeding, the Committee is
            still entitled to Rule 2004 discovery.

                  21.       Even if some of the documents responsive to the Committee’s requests

overlap with documents that may eventually be sought through discovery in the adversary

proceeding, the Committee is still entitled to the requested information under Rule 2004 because

the information sought is relevant to the bankruptcy case. In re Fundamental Long Term Care,

Inc., 509 B.R. 387, 392 n.7 (Bankr. M.D. Fla. 2014) (“The Court need not address the pending

proceeding objections since this Court has previously ruled that discovery is not barred simply

because there is another adversary proceeding pending so long as the discovery sought is relevant

to this proceeding.”).




14
   Likewise, Arrowood’s arguments about what discovery would generally be available under the narrower Federal
Rules of Civil Procedure in a coverage action (see Objection at 21-26) are similarly misplaced because the scope of
relevant discovery under Rule 2004 is substantially broader. In any event, courts have recognized the discoverability
of reserve information and information concerning other insureds in particular cases. E.g., 99 Wall Development Inc.
v. Allied World Specialty Ins. Co., No. 18-cv-0126, 2019 WL 2482356, at *4 (S.D.N.Y. June 14, 2019) (“Relevance
of reserve information is evaluated on a case-by-case basis.”); National Union Fire Ins. Co. of Pittsburgh, Pa. v. H&R
Block, Inc., No. 12-cv-1505, 2014 WL 4377845, at *4 (S.D.N.Y. Sept. 4, 2014) (“[T]he establishment of a reserve
does have some probative value, especially where, as here, a bad faith refusal to pay is alleged.”); Granite State Ins.
Co. v. Clearwater Ins. Co., 09-cv-10607, 2012 WL 1520851 at *3 (S.D.N.Y. Apr. 30, 2012) (“Reports and analyses
regarding [insurer’s] reserve procedures are directly relevant to its defense that [insurer] acted in bad faith by not
having adequate and reasonable reserve procedures in place.”); Mariner’s Cove Site B Associates v. Travelers Indem.
Co., No. 04-cv-1913, 2005 WL 1075400, at *1 (S.D.N.Y. May 2, 2005) (granting insured’s motion to compel
“documents relating to defendants’ handling and evaluation of similar claims arising out of the September 11, 2001
attacks” because “documents regarding similar claims of other insureds . . . are relevant and discoverable in actions
to recover insurance reimbursements”); Wilner v. Allstate Ins. Co., 893 N.Y.S.2d 208, 219 (N.Y. App. Div. 2010)
(“The information sought, regarding claims the defendants has handled for other insureds, relates to the plaintiffs’
attempt to establish that the defendant has engaged in a pattern of deception, and thus, the request is proper.”).



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                 22.        Information regarding Arrowood’s claim denials and reservation of rights,15

practices and procedures with respect to Sexual Abuse claims brought under the CVA,16 and

compliance with New York Department of Financial Services Circular Letter No. 11,17 for

instance, are all relevant to the Committee’s assessment of whether particular settlement

mechanisms, such as stipulated judgments, could be entered on Arrowood claims and incorporated

into an eventual plan of reorganization. The Committee should therefore be entitled to this

information under Rule 2004.18

        D. Arrowood’s refusal to comply may delay the parties’ efforts to formulate a
           consensual plan

                 23.        As described above, the key to any consensual Plan remains the adequacy

of the Diocese and Parish financial contributions. However, if that issue is resolved by October

31 and the parties need to reach agreement on the various other terms included in a proposed

Plan, the Committee must have information sufficient to allow it to fully assess Arrowood’s

ability to pay under its policies.

                 24.        Refusing the production of this information may delay the negotiation of

portions of any eventual Plan that relate to Arrowood.




15
   Request for Production No. 5 and Interrogatories Nos. 8 and 9.
16
   Request for Production No. 17.
17
   Request for Production No. 18.
18
   In addition, although Arrowood does not develop this argument in any meaningful way or assert that the requested
information is privileged, Arrowood also asserts that the Committee’s requests “appear to infringe” on the Delaware
Department of Insurance’s “exercise of its police and regulatory powers,” (Objection at 27), but that argument lacks
merit. According to Arrowood, it has been “working closely” with its “Delaware Department-appointed Claims
Monitor since 2007.” Id. at 26. Presumably, Arrowood informed its Claims Monitor about the Committee’s 2004
Request. If the Delaware Insurance Department considered those requests to be objectionable, they could have filed a
submission in support of Arrowood. They didn’t. Arrowood has no standing to raise this argument and should not be
permitted to avoid Rule 2004 discovery by making passing references to the state of Delaware’s police powers—
particularly when Delaware itself has raised no such concerns.



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                 25.        Based on the foregoing, the Court should enter an order authorizing the

Committee to issue the subpoena seeking the examination and production of documents from

Arrowood.

                 WHEREFORE, the Committee respectfully requests that this Court: (i) enter an

order substantially in the form attached hereto as Exhibit A,19 granting the relief sought herein;

and (ii) grant such other and further relief to the Committee as the Court may deem proper.




19
  The attached Exhibit A has been modified from the original Exhibit A included with the Motion to address a
comment received from the Debtor. Attached as Exhibit B is a redline version showing the proposed modification.



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 Dated: September 8, 2023                  PACHULSKI STANG ZIEHL & JONES LLP

                                            /s/ James I. Stang                         .




                                           James I. Stang, Esq.
                                           Iain A. W. Nasatir, Esq.
                                           Karen Dine, Esq.
                                           Brittany M. Michael, Esq.
                                           780 Third Avenue, 36th Floor
                                           New York, NY 10017-2024
                                           Telephone: 212/561-7700
                                           Facsimile: 212/561-7777
                                           jstang@pszjlaw.com
                                           inasatir@pszjlaw.com
                                           kdine@pszjlaw.com
                                           bmichael@pszjlaw.com

                                           Counsel for the Official Committee of Unsecured
                                           Creditors

                                           BURNS BAIR LLP

                                            /s/ Timothy W. Burns                           .




                                           Timothy W. Burns, Esq. (admitted pro hac vice)
                                           Jesse J. Bair, Esq. (admitted pro hac vice)
                                           10 E. Doty St., Suite 600
                                           Madison, WI 53703-3392
                                           Telephone: (608) 286-2808
                                           Email: tburns@burnsbair.com
                                           Email: jbair@burnsbair.com

                                           Special Insurance Counsel to the Official
                                           Committee of Unsecured Creditors




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:
                                                                           Chapter 11
    THE ROMAN CATHOLIC DIOCESE OF
    ROCKVILLE CENTRE, NEW YORK,                                            Case No. 20-12345 (MG)

                                       Debtor.


         ORDER GRANTING THE MOTION OF THE OFFICIAL COMMITTEE OF
          UNSECURED CREDITORS FOR ENTRY OF AN ORDER PURSUANT TO
        BANKRUPTCY RULE 2004 AUTHORIZING EXAMINATION OF WITNESSES
                    AND THE PRODUCTION OF DOCUMENTS

             This matter coming before the Court on the Motion of the Official Committee of Unsecured

Creditors (the “Committee”) of The Roman Catholic Diocese of Rockville Centre, New York for

entry of an order, pursuant to Bankruptcy Rule 2004, authorizing the issuance of a document and

examination subpoena to Arrowood Indemnity Company (“Arrowood”) 1 (the “Motion”); 2 the

Court having reviewed and considered the Motion; the Court having found that (i) the Court has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, (ii) this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2), and (iii) notice of the Motion as described in the Motion was

proper under the circumstances; and the Court having determined that the legal and factual bases

set forth in the Motion establish just cause for the relief granted herein; and after due deliberation

and good and sufficient cause appearing therefor, it is hereby ORDERED that:

                    1.       The Motion is GRANTED.



1
  “Arrowood” refers to Arrowood Indemnity Company, the Delaware domiciled insurance company, and each of its
predecessors, predecessors-in-interest, successors, present and former parents, subsidiaries, affiliates, divisions,
departments, area or regional offices, managing general agents, directors, officers, agents, employees, representatives,
attorneys, investigators, contractors, subcontractors, experts, consultants, each person within its control, and each
person acting or purporting to act on its behalf.
2
    Capitalized terms not defined herein shall have the meanings and definitions ascribed to them in the Motion.



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                 2.         The Committee is authorized to seek an examination of and documents from

Arrowood, as more fully described in Exhibit B to the Motion, in accordance with Bankruptcy

Rules 2004(c) and 9016.

                 3.         Arrowood shall provide courtesy copies of all responses to the Committee’s

subpoena to counsel to the Debtor, Attn: Eric Stephens and Andrew Butler, Jones Day, 250 Vesey St., New

York, NY 10281, epstephens@jonesday.com, abutler@jonesday.com.

                 4.         Nothing contained herein shall prejudice the Committee’s rights under

Bankruptcy Rule 2004 and other applicable laws to seek further document productions or written

or oral examinations from Arrowood or in connection with this case.

                 5.         The Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation of this Order.




 Dated: New York, New York                   _______________________________________
        ___ __, 2023                         THE HONORABLE MARTIN GLENN
                                             CHIEF UNITED STATES BANKRUPTCY JUDGE




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:
                                                                          Chapter 11
THE ROMAN CATHOLIC DIOCESE OF
ROCKVILLE CENTRE, NEW YORK,                                               Case No. 20-12345 (MG)

                                      Debtor.


         ORDER GRANTING THE MOTION OF THE OFFICIAL COMMITTEE OF
          UNSECURED CREDITORS FOR ENTRY OF AN ORDER PURSUANT TO
        BANKRUPTCY RULE 2004 AUTHORIZING EXAMINATION OF WITNESSES
                    AND THE PRODUCTION OF DOCUMENTS

           This matter coming before the Court on the Motion of the Official Committee of

Unsecured Creditors (the “Committee”) of The Roman Catholic Diocese of Rockville Centre,

New York for entry of an order, pursuant to Bankruptcy Rule 2004, authorizing the issuance of a

document and examination subpoena to Arrowood Indemnity Company (“Arrowood”)1 (the

“Motion”);2 the Court having reviewed and considered the Motion; the Court having found that

(i) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, (ii) this is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2), and (iii) notice of the Motion as described in

the Motion was proper under the circumstances; and the Court having determined that the legal

and factual bases set forth in the Motion establish just cause for the relief granted herein; and

after due deliberation and good and sufficient cause appearing therefor, it is hereby ORDERED

that:



1
  “Arrowood” refers to Arrowood Indemnity Company, the Delaware domiciled insurance company, and each of its
predecessors, predecessors-in-interest, successors, present and former parents, subsidiaries, affiliates, divisions,
departments, area or regional offices, managing general agents, directors, officers, agents, employees,
representatives, attorneys, investigators, contractors, subcontractors, experts, consultants, each person within its
control, and each person acting or purporting to act on its behalf.
2
    Capitalized terms not defined herein shall have the meanings and definitions ascribed to them in the Motion.



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                 1.         The Motion is GRANTED.

                 2.         The Committee is authorized to seek an examination of and documents

from Arrowood, as more fully described in Exhibit B to the Motion, in accordance with

Bankruptcy Rules 2004(c) and 9016.

                 3.         Arrowood shall provide courtesy copies of all responses to the Committee’s

subpoena to counsel to the Debtor, Attn: Eric Stephens and Andrew Butler, Jones Day, 250 Vesey St.,

New York, NY 10281, epstephens@jonesday.com, abutler@jonesday.com.

                 4.         3. Nothing contained herein shall prejudice the Committee’s rights under

Bankruptcy Rule 2004 and other applicable laws to seek further document productions or written

or oral examinations from Arrowood or in connection with this case.

                 5.         4. The Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation of this Order.




Dated: New York, New York                   _______________________________________
       ___ __, 2023                         THE HONORABLE MARTIN GLENN
                                            CHIEF UNITED STATES BANKRUPTCY JUDGE




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   Document comparison by Workshare Compare on Thursday, September 7, 2023
   10:14:22 PM
   Input:
   Document 1 ID       PowerDocs://DOCS_NY/48353/1
   Description         DOCS_NY-#48353-v1-Proposed_Order_2004
   Document 2 ID       PowerDocs://DOCS_NY/48353/2
   Description         DOCS_NY-#48353-v2-Proposed_Order_2004
   Rendering set       Standard no moves

   Legend:
   Insertion
   Deletion
   Moved from
   Moved to
   Style change
   Format change
   Moved deletion
   Inserted cell
   Deleted cell
   Moved cell
   Split/Merged cell
   Padding cell

   Statistics:
                                           Count
   Insertions                                11
   Deletions                                  2
   Moved from                                 0
   Moved to                                   0
   Style changes                              0
   Format changes                             0
   Total changes                             13
